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NO.
TONYA GRANGER, § IN THE DISTRICT COURT OF
§
Plaintiff, §
§
VS. §
§ HARRIS COUNTY, TEXAS
LIGHTHOUSE PROPERTY §
INSURANCE CORPORATION §
and TIMOTHY ALAN MERCER, §
§
§
Defendants. § DISTRICT COURT

 

PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND,
AN}) REQUEST FOR DISCLOSURE

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Tonya Granger (“Plaintiff”), and files Plaintiff’s Original Petition, Jury
])emand, and Request for Disclosure, complaining of Lighthouse Property lnsurance
Corporation (“Lighthouse”), and Timothy Alan Mercer (“Mercer”) (or collectively “Defendants”)

and for cause of action, Plaintiff respectfully shows the following:

DISCOVERY CONTROL PLAN
1. Plaintiff intends to conduct discovery under Level 3, Texas Rules of Civil Procedure 190.4
and 169.
PAR'I`IES
2. Plaintiff, Tonya Granger, resides in Harris County, Texas,
3. Defendant, Lighthou.se Property Insurance, is a Texas insurance company, engaged in the

business of insurance in the State of Texas. Plaintiff requests service of citation upon

Lighthouse Property lnsurance through its registered agent for service, CT Corgoration

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Svstem1 Suite 900,Brvan Street; Dallas, Texas 75201-3140 . Plaintiff requests service

at this time.

Defendant, Tirnothy Alan Mercer, is an individual resident of Humble, Texas. Piaintiff
requests service of citation upon Washington at the address listed With the Texas

Department oflnsurance: 8811 FM 1960, vaass Road West, Suite 400: I-Il_u_nble, Texas

77338-3952. Plaintiff requests service at this time.

JURISDICTION

The Court has jurisdiction over Lighthouse Property lnsurance because it engages in the
business of insurance in the State of Texas, and the causes of action arise out of its business

activities in the state, including those in Harris County, Texas, With reference to this

specific case.

The Court has jurisdiction over Timothy Alan l\/Iercer because he engages in the business

of selling property and casualty insurance policies in the State of Texas, and the causes of

action arise out of his business activities in the state, including those in Harris County,

Texas, with reference to this specific case.

VENUE

Venue is proper in Harris County, Texas, because the insured property is located in Harris

County, Texas, and all or a substantial part of the events giving rise to this lawsuit occurred

in Harris County, Texas. TEX. CIV. PRAC. & REM. CODE § 15.032.

FACTS

Plaintiff asserts claims for fraud, breach of contract, violations of sections 541 and 542 of

the Texas Insurance Code, and violations of the Texas DTPA.

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Plaintiff owns an Lighthouse Property Insurance homeowner’s insurance policy, number
LTM1000670 (“the Policy”), which was issued by Lighthouse At all relevant times,
Plaintiff owned the insured premises located at 21110 Brushy Canyon Drive, Houston,
Texas 77073-2974 (“the Property”).

Lighthouse, through its agent, sold the Policy, insuring the Property, to Plaintiff.
Lighthouse represented to Plaintiff that the Policy included hail and windstorm coverage
for damage to Plaintiff’s home.

On or about May 30, 2017, the Property sustained extensive damage resulting from a severe
storm that passed through the I-iouston, Texas, area.

ln the aftermath of the hail and Windstorm, Plaintii`f submitted a claim to Lighthouse
against the Policy for damage to the Property. Lighthouse assigned claim number
TX001779 to Plaintifi" s claim.

Piaintiff asked Lighthouse to cover the cost of damage to the Property pursuant to the
Poiicy.

Damaged areas of the property include, but are not limited to the roof, vents, flashings,
Windows, window screens, fascia, gutters, downspouts, and HVAC system. The storm
compromised the integrity of the roof allowing water to enter, causing water damage to the
following areas of the interior: first bedroom, first bedroom closet, bathroom, foyer, foyer
closet, second bedroom, second bedroom closet, media room, living room, master
bedroom, dining room, kitchen, and pantry.

Lighthouse assigned or hired Timothy Alan Mercer to adjust the claim on June 7, 2017:

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a. Mercer had a vested interest in undervaluing the claims assigned to him by
Lighthouse in order to maintain his employment The disparity in the number of
damaged items in Mercer’s report compared to that of Plaintiffs Third-Party
Adjuster’s is evidence of fraud on the part of Mercer. The valuation of damages
that were included in ’s report compared to Plaintiff’s Third~Party Adjuster’s is also
evidence of fraud on the part of.

b. Furtherrnore, Mercer was aware of Plaintiffs deductible before visiting the
Property to conduct the inspection He had advanced knowledge of what amount
of damages he needed to find in order to either deny the claim or find the claim
below the deductible

c. Mercer made misrepresentations as to the amount of damage Plaintiffs Property
sustained as well as misrepresentations regarding how much it would cost to repair
the damage to Plaintiff"s Property.

After the completion of the inspection, Mercer found that there was $1,807.30 in damages
to the property

Af`ter application of the policy deductible, Plaintiff was left with $137.30. This is not an
adequate recovery amount to complete proper repairs on Plaintiff"s home.

To date, Plaintiff has received 5137.30 for damage to Plaintifi`s Property. The damage to

Mercer conducted a substandard and improper inspection of the Property, which grossly
undervalued the cost of repairs in its estimate and yielded an unrealistic amount to deny
coverage

Lighthouse has ultimately refused any additional coverage which includes, but is not

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limited to, replacement of the roof and interior walls in a manner that complies with Harris
County buiiding codes. The damage to Plaintiff’s Property is currently estimated at
$43,912.15.

As stated above, Defendant improperly adjusted Plaintiff’s claim. Without iimitation,
Defendant misrepresented the cause of, scope of, and cost to repair damages to Plaintiff” s
Property, as well as the amount of insurance coverage for Plaintiff’s claim or loss under
the Policy.

Lighthouse made these and other false representations to Plaintiff, either knowingiy or
recklessly, as a positive assertion, without knowledge of the truth. Lighthouse made these
false representations with the intent that Plaintiff act in accordance with the
misrepresentations regarding the grossly deficient damage and repair estimates prepared
by Lighthouse’s agent.

Plaintiff relied on Defendants’ misrepresentations, including but not limited to those
regarding coverage, the cause of, scope of, and cost to repair the damage to Plaintiff"s
Property. Plaintiff"s damages are the result of Plaintiff’s reliance on these
misrepresentations regarding coverage, the cause of, scope of, and cost to repair the
damage to Plaintiff’ s Property.

Upon receipt of the inspection report from Mercer, Lighthouse failed to assess the claim
thoroughly Based upon Lighthouse’S grossly unreasonable, intentional, and reckless
failure to investigate the claim properly prior to denying coverage, Lighthouse failed to
provide coverage due under the Policy, and Plaintiff suffered damages

Because Lighthouse failed to provide coverage for Piaintiff’ s insurance claim, Plaintiff has

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been unable to complete any substantive repairs to the Property. This has caused additional
damage to Plaintiff s Property.

Lighthouse failed to perform its contractual duties to Plaintiff under the terms of the Policy.
SpecificallyJ Lighthouse refused to pay any additional proceeds due under the Policy,
although due demand was made for an amount sufficient to cover the damaged Property,
and all conditions precedent to recover upon the Policy were carried out by Plaintiff.
Lighthouse’s misrepresentations, unreasonable delays, and continued denials constitute a
breach of the statutory obligations under Chapters 541 and 542 of the Texas lnsurance
Code. Thus, the breach of the statutory duties constitutes the foundation of a breach of the
insurance contract between Lighthouse and Plaintiff

Lighthouse’s conduct constitutes a violation of the Texas lnsurance Code, Unfair
Settlernent Practices. TEX. INS. CODE §541.060(a)(1). Lighthouse has failed to settle
Plaintiff’s claim in a fair manner, although Lighthouse was aware of their liability to
Plaintiff under the Policy. Specifically, Lighthouse has failed to, in an honest and fair
manner, balance its own interests in maximizing gains and limiting disbursements, with
the interests of Plaintiff by failing to timely pay Plaintiff coverage due under the Policy.
Lighthouse’s conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX. INS. CODE §541.060(a)(2)(A). Lighthouse failed to provide
Plaintiff a reasonable explanation for denial of the claim.

Additionally, after Lighthouse received statutory demand on June 24, 2017, Lighthouse
has not communicated that any future settlements or payments would be forthcoming to

pay for the entire loss covered under the Policy, nor did it provide any explanation for

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failing to settle Plaintiff’ s claim properly

Lighthouse’s conduct constitutes a violation of the Texas Insurance Code, Unfair
Settlement Practices. TEX. INS. CODE §541.060(a)(4). Lighthouse refused to provide
coverage to Plaintiff under the Policy due to Defendants’ failure to conduct a reasonable
investigation

Specifically, Lighthouse, through its agents, servants, and representatives, performed an
outcome-oriented investigation of Plaintiff’s claim, which resulted in a biased, unfair, and
inequitable evaluation of Plaintiff’s losses on the Property.

Lighthouse’s conduct constitutes a violation of the Texas Insurance Code, Prompt Payment
of Claims. TEX. lNS. CODE §542.055. Lighthouse failed to reasonably accept or deny
Plaintiff’s full and entire claim within the statutorily mandated time after receiving all
necessary information

Lighthouse’s conduct constitutes a violation of the Texas Insurance Code, Prompt Payment
of Claims. TEX. INS. CODE §542.056. Lighthouse failed to meet its obligations under
the Texas Insurance Code regarding timely payment of the claim. Specifically, Lighthouse
has delayed full payment of Plaintiff’s claim longer than allowed, and Plaintiff has not
received payment

Defendants’ wrongful acts and omissions forced Plaintiff to retain the professional services

of the attorneys and law firm representing Plaintiff with respect to these causes of action.

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CAUSES OF ACTION AGAINST DEFENDANT LIGHTHOUSE PROPERTY
INSURANCE CORPORATION

BREACH OF CONTRACT
Lighthouse is liable to Plaintiff for intentional violations of the Texas Insurance Code, and
intentional breach of the common-law duty of good faith and fair dealing lt follows, then,
that the breach of the statutory duties constitutes the foundation of an intentional breach of
the insurance contract between Lighthouse and Plaintiff.
Lighthouse’s failure and/or refusal to pay adequate coverage as obligated under the Policy,
and under the laws of the State of Texas, constitutes a breach of Lighthouse’s insurance
contract with Plaintiff

NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
UNFAIR SETTLEMENT PRACTICES

Lighthouse’s conduct constitutes multiple violations of the Texas Insurance Code, Unfair
Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this article are
actionable by TEX. INS. CODE §541.151.

Lighthouse’s unfair settlement practice of misrepresenting to Plaintiff material facts
relating to coverage constitutes an unfair method of competition and a deceptive act or
practice in the business of insurance TEX. INS. CODE §541.060(a)(1).

Lighthouse’s unfair settlement practice of failing to attempt in good faith to make a prompt,
fair, and equitable settlement of the claim, even though Lighthouse’s liability under the
Policy was reasonably clear, constitutes an unfair method of competition and a deceptive

act or practice in the business of insurance TEX. INS. CODE §541.060(a)(2)(A).

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Lighthouse’s unfair settlement practice of failing to provide Plaintiff a prompt and
reasonable explanation of the basis in the Policy, in relation to the facts or applicable lavv,
for denial of the claim, constitutes an unfair method of competition and a deceptive act or
practice in the business of insurance TEX. lNS. CODE §541.060(a)(3).

Lighthouse’s unfair settlement practice of refusing to pay Plaintiff’s full claim without
conducting a reasonable investigation constitutes an unfair method of competition and a
deceptive actor practice in the business of insurance TEX. lNS. CODE §541.060(a)(7).

NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
THE PROMPT PAYMENT OF CLAIMS

Lighthouse’s conduct constitutes multiple violations of the 'I`exas Insurance Code, Prompt
Payment of Claims. All violations made under this article are actionable under TEX. NS.
CODE §542.060.

Lighthouse’s delay in paying Plaintiffs claim following receipt of all items, statements,
and forms reasonably requested and required, for longer than the amount of time provided,

constitutes a non-prompt payment of the claim. TEX. lNS. CODE §542.058.

BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
Lighthouse’s conduct constitutes a breach of the common-law duty of good faith and fair
dealing owed to an insured in insurance contracts
Lighthouse’s failure to adequately and reasonably investigate and evaluate Plaintiff’s
claim, even though Lighthouse knew or should have known by the exercise of reasonable
diligence that liability was reasonably clear, constitutes a breach of the duty of good faith

and fair dealing.

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DTPA VIOLATIONS

Lighthouse’s conduct constitutes multiple violations of the Texas Deceptive Trade

Practices Act (“DTPA”), TEX. BUS. & COM. CODE 17.41-63. Plaintiff is a consumer

of goods and services provided by Lighthouse pursuant to the DTPA. Plaintiff has met all

conditions precedent to bringing this cause of action against Lighthouse. Specifically,

Lighthouse’s violations of the DTPA include, without limitation, the following matters:

A.

By its acts, omissions, failures, and conduct, Lighthouse has violated sections
17.46(b)(2), (5), {7), (9), (l2), (20) and (24) of the DTPA. Lighthouse’s violations
include, (l) unreasonable delays in the investigation, adjustment, and resolution of
Plaintiff`s claim, (2) failure to give Plaintiff the benefit of the doubt, and (3) failure
to pay for the proper repair of Plaintiff’s property when liability has become
reasonably clear, which gives Plaintiff the right to recover under section
l7.46(b)(2).

Lighthouse represented to Plaintiff that the Policy and its adjusting and
investigative services had characteristics or benefits they did not possess, which
gives Plaintiff the right to recover under section 17.46(b)(5) of the DTPA.
Lighthouse represented to Plaintiff that Lighthouse’s Policy and adjusting services
were of a particular standard, quality, or grade when they were of another, in
violation of section 17.46(b)(7) of the DTPA.

Lighthouse advertised the Policy and adjusting services with the intent not to sell

them as advertised, in violation of section 1'7.46(b)(9) of the DTPA.

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E. Lighthouse breached an express warranty that the damages caused by wind and hail
would be covered under the Policy. This breach entitles Plaintiff to recover under
sections 17.46(b)(12) and (20) and 17.50(a)(2) of the DTPA.

F. Lighthouse’s actions are unconscionable in that it took advantage of Plaintiff` s lack
of knowledge, ability, and experience to a grossly unfair degree Lighthouse’s
unconscionable conduct gives Plaintiff a right to relief under section 17.50(a)(3) of
the DTPA; and

G. Lighthouse’s conduct, acts, omissions, and failures, as described in this petition,
are unfair practices in the business of insurance in violation of section l7.50(a)(4)
of the DTPA.

Each of the above-described acts, omissions and failures of Lighthouse is a producing

cause of Plaintiff s damages All of Lighthouse’s acts, omissions and failures were

committed “knowingly” and “intentionally,” as defined by the Texas Deceptive Fl`rade

Practices Act.

FRAUD

Lighthouse is liable to Plaintiff for common-law fraud.

Every misrepresentation described above concerned material facts that absent such

representations Plaintiff would not have acted as

he did, and Lighthouse knew the representations were false or made recklessly without any

knowledge of their truth as a positive assertion.

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Lighthouse made these statements intending that Plaintiff act upon them. Plaintiff then
acted in reliance upon these statements thereby causing Plaintiff to suffer injury
constituting common-law fraud.

CAUSES OF ACTION AGAINST DEFENDANT TIMOTI-IY ALAN MERCER

NONCOMPLIANCE WITH THE TEXAS lNSURANCE CODE:
UNFAIR SETTLEMENT PRACTICES

All allegations above are incorporated herein.

Mercer’s conduct constitutes multiple violations of the Texas Insurance Code, Unfair
Claim Settlement Practices Act. TEX. lNS. CODE §541.060(a).

Mercer is individually liable for his unfair and deceptive acts, irrespective of the fact that
he was acting on behalf of Safeco, because Mercer is a “person,” as defined by TEX. lNS.
CODE §541.002(2).

Mercer knowingly underestimated the amount of damage to the Property. As such, he
failed to adopt and implement reasonable standards for the investigation of the claim
arising under the Policy. TEX. lNS. CODE §542.003(3).

Furthermore, Mercer did not attempt in good faith to affect a fair, prompt, and equitable
settlement of the claim. TEX. lNS. CODE §542.003(4).

Mercer’s unfair settlement practice of failing to provide Plaintiff a prompt and reasonable
explanation of the basis in the Policy, in relation to the facts or applicable law, for partial
denial of the claim, also constitutes an unfair method of competition and an unfair and
deceptive act or practice TEX. lNS. CODE §541.060(a)(3).

Mercer’s unfair settlement practice of failing to attempt in good faith to make a prompt,
fair, and equitable settlement of the claim, even though liability under the Policy was

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reasonably clear, constitutes an unfair method of competition and a deceptive act or

practice in the business of insurance TEX. lNS. CODE §541.060(a)(2)(A).

DTPA VIOLATIONS

All allegations above are incorporated herein.

Mercer’s conduct constitutes multiple violations of the Texas Deceptive Trade Practices

Act (“DTPA”), TEX. BUS. & COM. CODE 17.41_63. Plaintiff is a consumer of goods

and services provided by pursuant to the DTPA. Plaintiff has met all conditions precedent

to bringing this cause of action against Specifically, Mercer’s violations of the DTPA

include the following matters:

A.

By this Defendant’s acts, omissions failures, and conduct, has violated sections
17.46(b)(2), (5), and (7) of the DTPA. Mercer’s violations include (l) failure to
give Plaintiff the benefit of the doubt, and (2) failure to write up an estimate
reflecting the proper repair of Plaintiff’s Property when liability has become
reasonably clear, which gives Plaintiff the right to recover under section
17.46(b)(2).

Mercer represented to Plaintiff that the Policy and his adjusting and investigative
services had characteristics or benefits they did not possess, which gives Plaintiff
the right to recover under section 17.46(1))(5) of the DTPA.

Mercer represented to Plaintiff that the Policy and his adjusting services were of a
particular standard, quality, or grade when they were of another, in violation of

section 17.46(b)(7) of the DTPA.

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D. Mercer’s actions are unconscionable in that took advantage of Plaintiff’s lack of
knowledge ability, and experience to a grossly unfair degree His unconscionable
conduct gives Plaintiff a right to relief under section 17.50(a)(3) of the DTPA; and

E. Mercer’s conduct, acts, omissions, and failures, as described in this petition, are
unfair practices in the business of insurance in violation of section 17.50(a)(4) of
the DTPA.

Each of Mercer’s above-described acts, omissions and failures is a producing cause of

Plaintiff’s damages All acts, omissions and failures were committed “knowingly” and

“intentionally” by him, as defined by the Texas Deceptive Trade Practices Act. TEX. BUS.

& COM. CODE 17.45.

FRAUD

All allegations above are incorporated herein.

Safeco assigned or hired Mercer to adjust the claim.

a. Mercer had a vested interest in undervaluing the claims assigned to him by Safeco
in order to maintain his employment The disparity in the number of damaged items
in his report compared to that of Plaintiff’s Third-Party Adjuster’s is evidence of
fraud on the part of him. The valuation of damages that were included in Mercer’s
report compared to Plaintiff’s Third-Party Adjuster’s is also evidence of fraud on
the part of him.

b. Furtherrnore, Mercer was aware of Plaintiff’s deductible before even visiting the

Property to conduct the inspection. He had advanced knowledge of what amount

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of damages he needed to find in order to either deny the claim or find the claim
below the deductible

Mercer made misrepresentations as to the amount of damage Plaintiff1 s Property
sustained as well as misrepresentations regarding how much it would cost to repair
the damage to Plaintiff" s property

Mercer made further misrepresentations to Plaintiff during his inspection He used
his expertise to fabricate plausible explanations for Why visible damage to
Plaintiff’ s Property would not be covered under the policy Such misrepresentations
include damage to the Property owing from wear and tear, damage from a previous
claim, and damage of a type not consistent with the type of claim that was made

GROSS NEGLIGENCE

65. All allegations above are incorporated herein.

66. Mercer’s actions or omissions constitute gross negligence as defined in TEX. ClV. P. &

REM. CODE § 41.001 (ii)(A) and (B);

B..

Mercer’s actions, when viewed objectively from the standpoint of the actor at the
time of their occurrence involves an extreme degree of risk, considering the
probability and magnitude of potential harm to Plaintiff; and

Mercer had actual, subjective awareness of the risk involved but nevertheless

proceeded with conscious indifference to the rightsJ safety, and/or welfare of

Plaintiffs.

67. Mercer intentionally misrepresented the scope and amount of damages on the estimate

prepared for Plaintiffs’ Property on behalf of Safeco. His estimate was to such an extreme

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degree below what another licensed adjuster would have done in this situation (as
evidenced by the Third-Party Adjuster’s estimate); it was also in complete disregard for
the risk and harm Plaintiff would suffer if the actual damages to the Property were allowed
to persist unrepaired.
NEGLIGENCE

All allegations above are incorporated herein.
Mercer was negligent in his actions with regard to his adjusting of Plaintiff’s claim and
violated the standard of care for an insurance adjuster licensed in the state of Texas. Those
failures include one or more of the following acts or omissions:

a. Failure to conduct a reasonable inspection;

b. Failure to include covered damage that would be discovered as a result of

reasonable inspection;

c. Failure to identify the proper cause and scope of the damage to Plaintiff s Property;

d. Failure to identify the cost of proper repairs to Plaintiff’s Property; and

e. Failure to communicate to Plaintiff the reasons for specific determinations made

regarding the inclusion or exclusion of damage to Plaintiff’s Property.

Mercer’s acts and/or omissions constitute negligence His conduct was therefore a
proximate cause of the damages sustained by Plaintiff.
At all relevant times, Mercer was an agent or employee of Defendant Safeco.
Mercer’s unreasonable inspection was performed within the course and scope of his duties
with Defendant Safeco. Therefore, Safeco is also liable for the negligence of Mercer

through the doctrine of respondeat superior.

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KNOWLEDGE
Defendants made each of the acts described above together and singularly, “knowingly,”
as defined in the Texas Insurance Code, and each was a producing cause of Plaintiff" s
damages described herein.
WAIVER AND ESTOPPEL
Defendants waived and are estopped from asserting any coverage defenses conditions
exclusions or exceptions to coverage not contained in any reservation of rights letter to
Plaintiff
DAMAGES
The damages caused to the Property have not been properly addressed or repaired since the
claim was made, causing further damage to the Property, and undue hardship and burden
to Plaintiff. These damages are a direct result of Defendants’ mishandling of Plaintiff’s
claim in violation of the laws set forth above
Plaintiff currently estimates that actual damages to the Property under the Policy are
$43,912.15.
Plaintiff would show that all of the aforementioned acts taken together or singularly,
constitute the producing causes of the damages sustained The above described acts
omissions failures, and conduct of Defendants have caused Plaintiffs damages which
include, without limitation, the cost to properly repair Plaintiff’s Property and any
investigative and engineering fees incurred.
For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff s bargain, which

is the amount of the claim, consequential damages together with attorney’s fees

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For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement Practices,
Plaintiff is entitled to actual damages which include the loss of benefits owed pursuant to
the Policy, mental anguish, court costs and attorney’s fees For knowing and intentional
conduct of the acts described above, Plaintiff asks for three (3) times Plaintiff`s actual
damages TEX. lNS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(b)(1).

For noncompliance with Texas Insurance Code, Prompt Payment of Claims Plaintiff is
entitled to the amount of the claim, plus an eighteen percent (18%) per annum penalty on
that claim, as damages as well as pre-judgment interest and reasonable attomey’s fees
TEX. lNS. CODE §542.060.

For breach of the common-law duty of good faith and fair dealing, Plaintiff is entitled to
compensatory damages including all forms of loss resulting from Defendants’ breach of
duty, such as additional costs economic hardship, losses due to the nonpayment of the
amount Lighthouse owed, exemplary damages and damages for emotional distress
Defendants’ breach of the common-law duty of good faith and fair dealing was committed
intentionally, with a conscious indifference to Plaintiff"s rights and welfare and with
“malice,” as that term is defined in Chapter 41 of the lean Civil Practices and Remedies
Code, These violations are the type of conduct which the State ofTexas protects its citizens
against by the imposition of exemplary damages Therefore, Plaintiff seeks the recovery
of exemplary damages in an amount determined by the finder of fact sufficient to punish
Defendants for their wrongful conduct, and to set an example to deter Defendants and

others from committing similar acts in the future

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For fraud, Plaintiff is entitled to recover actual and exemplary damages for knowingly
fraudulent and malicious representations along with attomey’s fees interest, and court
costs
For the prosecution and collection of this claim, Plaintiff has been compelled to engage the
services of the attorneys subscribed to this pleading Therefore, under Chapter 38 of the
Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance
Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum for the
reasonable and necessary services of Plaintiff’ s attorneys in the preparation and trial of this
action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.
As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs’ counsel states
that the damages sought are in an amount within the jurisdictional limits of this Court. As
required by Rule 47(0)(3) of the Texas Rules of Civil Procedure, Plaintiffs’ counsel states that
Plaintiffs seek only monetary relief of no less than $100,000.00, but no more than
$200,000.00, including damages of any kind, penalties costs expenses pre-judgment interest,
and attomey fees A jury will ultimately determine the monetary relief actually awarded, however.
Plaintiffs also seek pre-judgment and post-judgment interest at the highest legal rate

REQUESTS FOR DISCLOSURE
Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that Defendants
disclose, within fifty (5 0) days from the date this request is served, the information or material
described in Rules 190.2(b)(6) and 194.2.

JURY DEMAND

Plaintiff hereby requests ajury trial for all causes of action alleged herein, tried before a

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jury consisting of citizens residing in l-larris County, Texas Plaintiff hereby tenders the
appropriate jury fee
PRAYER

Plaintiff prays that Defendants Lighthouse Property Insurance Corporation and Timothy
Alan Mercer, be cited and served to appear, and that upon trial hereof, Plaintiff, Tonya Granger,
recovers from Defendants Lighthouse Property Insurance Corporation and Timothy Alan Mercer,
such sums as would reasonably andjustly compensate Plaintiff in accordance with the rules of law
and procedure as to actual, consequential, and treble damages under the Texas Insurance Code
and Texas Deceptive Trade Practices Act, and all punitive additional, and exemplary damages as
may be found. ln addition, Plaintiff requests the award of attorney’s fees for the trial and any
appeal of this case, for all costs of Court expended on Plaintiff s behalf, for pre-judgment and post-
judgment interest as allowed by law, and for any other relief, at law or in equity, to which Plaintiff,

Tonya Granger, may show Plaintiff is justly entitled.

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Respectfully submitted,
CHAD T WrLsoN LAW FIRM PLLC

By: /s/ Chad T. Wilson

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ArToRNEYs FoR PLAINTIFF

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l, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date

Witness my official hand and seal of office
this October 10 2017

 

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Chris Daniel, DlSl`RlCT CLERK
HARRlS COUNTY, TEXAS

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